                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 AMERICAN FEDERATIONOF
 GOVERNMENT EMPLOYEES, AFL-
 CIO, et al.,

                Plaintiffs,
                                                   Civil Action No. 25-cv-10276
        vs.

 CHARLES EZZELL, ACTING
 DIRECTOR, OFFICE OF PERSONNEL
 MANAGEMENT, et al...

                Defendants.

          UNOPPOSED MOTION FOR A VIDEO-CONFERENCED HEARING
                      AND TO APPEAR REMOTELY

       Plaintiffs respectfully move the Court to conduct the hearing on the Motion for a

Temporary Restraining Order, filed herewith, by video conference through the Zoomgov.com

platform no later than February 6, 2025. In the alternative, counsel for Plaintiffs seek leave to

appear at any in-person hearing by video conference.

       The Motion for a Temporary Restraining Order turns on issues of law, rather than fact.

Live testimony will not be required to present Plaintiffs’ case on the Motion. Lead counsel for

Plaintiffs are located in Washington DC. Local counsel have offices in Boston and Washington.

In view of the emergency nature of this Motion, it would be more appropriate to proceed virtually

than to require travel for an in-person hearing.

       Pursuant to Local Rule 7.1(a), counsel for Plaintiffs conferred with Defendants’ counsel

concerning this motion, and Defendants do not oppose a video-conferenced hearing regarding the

Motion for a Temporary Restraining Order or remote appearance by video conference.
                                         Respectfully submitted,

DATED this 5th day of February, 2025.



                                            By: /s/ Michael T. Anderson _____________
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    *pro hac vice pending




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                                CERTIFICATE OF SERVICE

Counsel for Plaintiffs certify that they have sent—through Defendants’ counsel Christopher Hall

at the U.S. Department of Justice Federal Programs Branch —notice of this motion after

conferred in good faith with Defendants’ counsel concerning this motion before filing. Plaintiffs’

counsel will immediately send electronically copies of the filing to Defendants’ counsel and will

serve subsequent registered participants electronically and paper copies will be sent to any non-

registered participants.




Dated: February 5, 2025                              /s/ Michael T. Anderson

                                                     Michael T. Anderson
